        Case 1:21-cr-00083-TNM Document 21-1 Filed 04/14/21 Page 1 of 3




                                                     U.S. Department of Justice

                                                     CHANNING D. PHILLIPS
                                                     Acting United States Attorney

                                                     District of Columbia


                                                     Judiciary Center
                                                     555 Fourth St., N.W.
                                                     Washington, D.C. 20530


                                                   April 14, 2021

Cara Halverson
Assistant Federal Public Defender
VIA E-mail

       Re:      United States v. Brandon Fellows
                Case No. 21-cr-83 TNM

Dear Counsel:

       This is to memorialize the following preliminary discovery sent you via email on March
29, 2021:
       Serial 48: cell phone extraction that failed and corresponding message that posted


      This is to memorialize the following preliminary discovery sent you on April 12, 2021
via USAFX:
      Body worn camera footage of January 6, 2021 of Officer Joubert Joseph.


       This is to memorialize the following preliminary discovery sent you on April 14, 2021
via USAFX:
       Serial 1 (redacted) and 1A_01_01: case initiation tip;
       CNN Certificate of Authenticity from Custodian of Records for CNN interview;
       Serial 2_1A_01256_016.m4v: CNN interview;
       Serial 7, 7 import, and 1A_01 through 03: Records check on defendant, including
addresses associated, DL and Criminal history;
       Serial 24 and 1A_013_01 through _05: Cell site search warrant and associated documents
       Serial 25 and 1A_014_01: PR/TT Motion and Order;
       Serial 27: arrest warrant;
       Serials 32, 33 and 45 (redacted): witness interviews;
       Serial 39 (redacted): acquisition of defendant’s telephone;
       Serial 41 and 1A_019_01 through _03: Search warrant for telephone and bus
       Serial 42 and 1A_023_01 through _02: Search warrant for prospective cell site data
        Case 1:21-cr-00083-TNM Document 21-1 Filed 04/14/21 Page 2 of 3




       Serial 51 and 51 import: Subpoena to Apple Inc.;
       Serial 53 and 1A_027_01, _028_01, _029_01 and _30_01: Arrest documents of
defendant including Advice of Rights and questions asked;
       Serial 56 and 1A_012_01 and _02; 1A_013_01: Facebook Search Warrant 21-290;
       Serial 57 and 1A_014_01 and _02; 1A_015_01: Facebook Search Warrant 21-291;
       Serial 58 and 1A_016_01 through_05: Apple Inc. return from subpoena

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

       Additional materials will be provided after the entry of a Protective Order in this case.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.




                                                 2
        Case 1:21-cr-00083-TNM Document 21-1 Filed 04/14/21 Page 3 of 3




        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                    Sincerely,

                                                    /s/ Mona Lee M. Furst
                                                    Mona Lee M. Furst
                                                    Assistant United States Attorney



Enclosure(s)
cc:




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